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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 In re:                                        )
                                               )      Case No. 24-12624-KHT
 DNC and TCPA LIST SANITIZER, LLC,             )      Chapter 11
                                               )
          Debtor.                              )


                       JOINDER OF GLEGAL, LLC TO COHEN, LLC’S
                          OBJECTION TO PLAN CONFIRMATION


         Creditor GLegal, LLC (“GLegal”), by and through undersigned counsel, and as a general
 unsecured creditor of the Debtor who timely filed its proof of claim, hereby joins in the objection
 filed by Cohen, LLC at Docket No. 355 to Debtor’s Fourth Amended Sub-Chapter V Plan of
 Reorganization Dated February 26, 2025 filed at Docket No. 316 (the “Plan”).

          Respectfully submitted this 8th day of April 2025.


                                               FREEMAN MATHIS & GARY, LLP

                                               s/ RDR
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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on April 8, 2025, the foregoing was
 electronically filed and served via CM/ECF pursuant to L.B.R. 9036-1, which action caused
 automatic electronic notice of such filing to all parties in interest in this matter

                                            s/ Samantha Dreiling
                                            Samantha Dreiling
